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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

                                     Case No. 1:19-cv-08454


SECURITIES AND EXCHANGE COMMISSION,

               Plaintiff,

v.

TODAYS GROWTH CONSULTANT, INC.,
(DBA “THE INCOME STORE”)

and

KENNETH D. COURTRIGHT, III,

            Defendants.
______________________________________________/

                        RECEIVER’S MOTION FOR APPROVAL OF
                          CONTINGENCY FEE ARRANGEMENT

        Melanie E. Damian, Esq., the Court-appointed Receiver (the “Receiver”) in the above-

captioned enforcement action, files this Motion proposing a contingency fee arrangement for

Damian & Valori LLP for the purpose of prosecuting the Receiver’s claims (collectively, the

“Contingent Litigation Claims”) against certain third parties based on their involvement with,

and/or facilitation of the alleged fraud perpetrated by, Today’s Growth Consultant (“TGC”) at

the direction of Kenneth D. Courtright (“Courtright”) and/or on their receipt of voidable

transfers, resulting in significant damages to TGC, and states as follows:

                     PROCEDURAL AND FACTUAL BACKGROUND

        On December 30, 2019, the Court entered its Temporary Restraining Order Freezing

Assets and Imposing Other Emergency Relief [ECF No. 20] and its Order Appointing Receiver
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[ECF No. 19], which, among other things, appointed Melanie E. Damian, Esq. of Damian &

Valori LLP, as Receiver for Defendant TGC.

       Pursuant to the Order Appointing Receiver, the Receiver is authorized to, among other

things, investigate, prosecute, defend, intervene in or otherwise participate in, compromise,

and/or adjust actions in any state, federal or foreign court or proceeding of any kind as may in

her discretion, and in consultation with SEC counsel, be advisable or proper to recover and/or

conserve receivership property. See Order Appointing Receiver at ¶ 42. Subject to her obligation

to expend receivership funds in a reasonable and cost-effective manner, the Receiver is

authorized, empowered and directed to investigate the manner in which the Receivership

Defendant conducted its financial and business affairs and (after obtaining leave of this Court) to

institute such actions and legal proceedings, for the benefit and on behalf of the Receivership

Estate, as the Receiver deems necessary and appropriate; The Receiver may seek, among other

legal and equitable relief, the imposition of constructive trusts, disgorgement of profits, asset

turnover, avoidance of fraudulent transfers, rescission and restitution, collection of debts, and

such other relief from the Court as may be necessary to enforce the Order. See Id. at ¶ 43.

The Receiver has discovered that various third parties have assisted, aided and abetted, enabled,

and facilitated the fraudulent scheme ran by TGC by allowing TGC to steal millions of dollars

from hundreds of victims across the country and misuse, divert, and misappropriate the

investors’ proceeds, all through the bank accounts of these institutions, with their knowing and

negligent assistance. The Receiver has also uncovered transfers that are voidable under the

Illinois Uniform Fraudulent Transfer Act.

       Since the commencement of the Receivership on December 30, 2019, the Receiver and

her professionals have incurred fees and costs in connection with fulfilling the Receiver’s duties

with respect to these third parties’ involvement with the TGC Defendant. The Receiver has also

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paid expenses for maintaining the assets. In addition, the Estate was nearly depleted at the time

of appointment, therefore, it is uncertain as to whether the Receiver will recover, sufficient funds

to pay for further asset recovery efforts, including the substantial fees and costs associated with

pursuing the Contingent Litigation Claims.

       While the Receiver has not concluded her investigation of the merits and viability of the

Contingent Litigation Claims or the collectability of the parties against which they would be

asserted, the Receiver proposes to continue her investigation, and to the extent she discovers

viable claims against collectible parties, bring the Contingent Litigation Claims to recover funds

for the benefit of Estate on a contingency fee basis. This will allow the Estate to benefit from

any recovery obtained by the Receiver without the obligation to pay attorneys’ fees if there is no

recovery.

       The Receiver will commence those recovery efforts upon entry of an order granting this

Motion.

                   PROPOSED CONTINGENCY FEE ARRANGEMENT

       Subject to this Court’s approval, the Receiver proposes her lead counsel (DVLLP) and

any other retained local or specialized counsel be compensated on a contingency fee basis for

their time expended (after entry of an Order granting this Motion) in connection with the

Contingent Litigation Claims against the third parties who were involved in and/or facilitated the

fraud committed by Defendant TGC or who received voidable transfers subject to the terms and

conditions specified below. The contingency percentages proposed below would be the total fee

to be paid to DVLLP as compensation for such time and efforts; DVLLP or other retained

professionals will not seek any further fees as compensation for such work.

       With respect to any other counsel the Receiver may employ to assist in litigation efforts

with respect to the Contingent Litigation Claims, the Receiver proposes to pay such counsel from

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the contingency fee the Receiver and DVLLP may receive as a result of asset recovery efforts

occurring after entry of an order granting this Motion, including through litigation, either (i) a fee

based on an agreed upon hourly rate and the number of hours that such counsel spends on the

asset recovery efforts, or (ii) a portion of the contingency fee that the Receiver and DVLLP

receive from the asset recovery efforts based on the time and resources the Receiver and each of

her counsel expend on those efforts, to which the Receiver and her counsel will agree prior to

disbursement of the fee.

       Except for the potential reimbursement of out-of-pocket expenses as described below, the

Receiver proposes that counsel be compensated for their services only when there is a Recovery1

as a result of the efforts of the Receiver and/or her counsel, either through settlement, judgment,

or otherwise.

       The duties to be performed by the Receiver and all of her counsel that would be covered

by the proposed contingency fee arrangement include: (A) investigation, demands pursuant to,

negotiation, and prosecution of the Contingent Litigation Claims against certain third parties that

played a part in the defrauding those that invested with TGC and/or received any voidable

transfers; and (B) all fiduciary and legal services performed in connection with making demands,

negotiating a resolution of, or filing and prosecuting the Contingent Litigation Claims, before or

after any litigation, arbitration or other legal proceeding is commenced.

       The Receiver and her counsel shall not be obligated to pursue, file or prosecute any

particular Contingent Litigation Claims or other asset recovery efforts, as doing so is entirely

within the discretion of the Receiver.


1
  “Recovery” or “Recoveries” means any and all monetary payments or other valuable property
received by the Estate pertaining to or arising or resulting from the pursuit of the Contingent
Litigation Claims. For the purposes of calculating the appropriate contingency fee, a Recovery is
“received” when the Estate takes possession or control of any Recovery.


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       The Receiver’s counsel shall be entitled to the following contingency fees:

               a.      Thirty percent (30%) of all gross Recoveries received by the Receivership

                       Estate at any time before the Commencement of Action2; or

               b.      Thirty-three percent (33%) of all gross Recoveries received by the

                       Receivership Estate at any time after the Commencement of Action.

       The foregoing scaled contingency fees based on the timing of the Estate’s receipt of a

Recovery (i.e., before or after the Commencement of Action) is intended to provide the highest

recovery possible to the Estate and its creditors while ensuring the contingency fee paid is

commensurate with the risk and costs borne by the Receiver and counsel and the results

obtained. The Receiver submits that the proposed contingency fee terms set forth above are fair,

reasonable and in the best interest of the Estate and its creditors.

       Other than the contingency fees proposed herein and reimbursement of actual expenses

incurred in connection with the Contingent Litigation Claims (the “Expenses”), the Receiver’s

counsel will not be entitled to any additional fees from the Estate for services rendered in

connection with the Contingent Litigation Claims.

       The Receiver is not seeking a contingency fee arrangement for any asset recovery efforts

for which she and any of her counsel has already billed on an hourly basis.

       With respect to administrative tasks, a possible future claims administration and

distribution process, and communications with customers and potential claimants, related to the

TGC Defendant’s Estate, the Receiver will continue to seek approval of compensation based on

actual time expended at the reduced hourly rates (to which the Receiver and the SEC agreed) and


2
  “Commencement of Action” shall mean the day the Receiver files a lawsuit, court action,
arbitration or other contested proceeding before a court, arbitrator(s), tribunal or any other
authority.


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reimbursement of expenses incurred, by the Receiver, DVLLP and her other professionals, on a

periodic basis, to the extent there are funds in the TGC Defendant’s Estate.

     ALLOWANCE AND PAYMENT OF CONTINGENCY FEES AND EXPENSES

       Before the Receiver and her counsel are paid the above-proposed contingency fee from

any gross Recovery resulting from a Contingent Litigation Claim or other asset recovery effort

related to the TGC Defendant, the Receiver shall file a motion with this Court seeking final

allowance and payment of the contingency fee and any Expenses3 incurred or advanced by the

Receiver and/or her counsel in connection with such asset recovery efforts.4

       Upon the Court’s allowance of contingency fees and Expenses, the TGC Defendant’s

Estate will pay the Receiver and her counsel such fees and Expenses minus any amount of those

Expenses that the Estate has already paid to the Receiver and/or her counsel or that have been

paid directly from the TGC Defendant’s Estate as described below.

       In the event there are sufficient funds available in the TGC Defendant’s Estate to cover

significant Expenses (i.e., Expenses exceeding $2,500) that the Receiver and/or her counsel will

incur in connection with the Contingent Litigation Claims or other asset recovery efforts related

to the TGC Defendant, the Receiver proposes to seek Court approval to pay all such Expenses,

prior to incurring or advancing such Expenses, directly from the TGC Defendant’s Estate by

motion or interim fee applications filed with the Court.

3
  Expenses shall mean pre-suit expenses and post-suit expenses for, inter alia, expert witnesses,
jury consultants, demonstrative evidence consultants, photocopying, scanning, digitizing and
document imaging/coding, postage, facsimiles, long-distance telephone calls, travel, courier and
other delivery services, computerized research, deposition and court reporting transcript and
other fees, and videography fees and costs. No expenses will be charged to the Estate for word
processing or secretarial overtime in connection with Contingent Litigation Claims or other asset
recovery efforts.
4
  The Receiver’s counsel must request the Receiver’s approval prior to incurring or advancing
any Expenses in connection with those efforts.


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       In the event there are not sufficient funds available in the TGC Defendant’s Estate at the

time the Receiver or her counsel incur or advance Expenses in connection with Contingent

Litigation Claims or other asset recovery efforts related to the Defendants, the Receiver and/or

her counsel shall be entitled to reimbursement of such Expenses, subject to Court approval of

such Expenses, from a subsequent net Recovery (after the contingency fees are paid from the

gross Recovery), regardless of whether that Recovery resulted from the asset recovery efforts for

which the Expenses were incurred or advanced.

       Such payment of Expenses is subject to final Court approval pursuant to (i) a subsequent

motion for final allowance and payment of contingency fees and Expenses the Receiver shall file

after the TGC Defendant’s Estate receives a Recovery, or (ii) a subsequent interim Application

for allowance and payment of fees and expenses (“Fee Application”) that the Receiver shall file

which includes Expenses incurred in connection with asset recovery efforts that did not result in

a Recovery.

           MAINTAINING RECORDS OF FEES AND EXPENSES INCURRED

       The Receiver understands and agrees that she and her counsel must keep accurate records

of their time and the hourly legal fees incurred in connection with the Contingent Litigation

Claims and other asset recovery efforts related to the TGC Defendant, but does not propose for

the purposes of the above-proposed contingency fee arrangement to keep those records in the

detail required for professionals whose employment and compensation is billed on an hourly

basis. Because all legal fees incurred in connection with Contingent Litigation Claims and other

asset recovery efforts will be paid on a contingency basis, the Receiver’s and her counsels’

monthly billing statements for the TGC Defendants’ Estate submitted with the Receiver’s interim

Fee Applications will not include entries for the time expended and legal services provided in

connection with such efforts.

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       Further, the Receiver understands and agrees that she and her counsel will maintain

records of the Expenses they incur in connection with their asset recovery efforts related to the

TGC Defendants. Such Expenses will be separately itemized on the Receiver’s and counsels’

monthly billing statements based on the particular service involved and out-of-pocket expense

incurred or advanced, in addition to expenses incurred for general receivership, administrative

and other matters. And the Receiver and her counsel will record these Expenses in a manner and

at rates that are consistent with the SEC’s Billing Instructions to which the Receiver agreed prior

to her appointment.

       The Receiver will submit her and her counsel’s records of Expenses (within monthly

billing statements) with her motions for final allowance and payment of contingency fees and

Expenses or her interim Fee Applications.

                              CERTIFICATE OF CONFERENCE

       The Receiver discussed the relief requested herein with counsel for the SEC who

informed the Receiver that they do not oppose such relief. The Receiver’s counsel informed

Defendant Kenneth D. Courtright of the requested relief, and Defendant Courtright informed the

Receiver’s counsel that he opposes such relief.

                                          CONCLUSION

       WHEREFORE, for the foregoing reasons, the Receiver respectfully requests entry of the

attached proposed Order approving the contingency fee arrangement proposed herein for the

Receiver’s counsels’ compensation for all services provided in connection with pursuing the

Contingent Litigation Claims against insiders, affiliates and/or third parties.




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           Respectfully submitted this 16th day of September, 2020.

                                                      /s/Kenneth Dante Murena
                                                      Kenneth Dante Murena, Esq.
                                                      Florida Bar No.: 147486
                                                      Admitted Pro Hac Vice
                                                      DAMIAN & VALORI LLP
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                                                      Court-Appointed Receiver
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                                                      and

                                                      Kevin Buckley Duff
                                                      Bar I.D. No.: 6210491
                                                      RACHLIS DUFF & PEEL, LLC
                                                      Counsel for Melanie E. Damian,
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                                                      Chicago, Illinois 60605
                                                      Telephone (312) 733-3950
                                                      Email: kduff@rdaplaw.net


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that, on this 16th day of September, 2020, I electronically filed

with Court using the CM/ECF system the foregoing Motion upon all counsel of record and

parties who have appeared in this case and are registered to receive electronic notice of all court

filings.



                                                      /s/Kenneth Dante Murena
                                                      Kenneth Dante Murena, Esq.
                                                      Counsel for Melanie E. Damian,
                                                      Court-Appointed Receiver




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